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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION                                              ENTERED
                                                                                              04/06/2021
IN RE:                                      §
EVEREST REAL ESTATE                         §               Case No. 20-34077
INVESTMENTS, LLP                            §
       Debtor in Possession                 §               Chapter 11

 AGREED ORDER ON MOTION FOR ENTRY OF AGREED ORDER GRANTING RELIEF
FROM THE AUTOMATIC STAY FILED BY LISA AYERS AS REPRESENTATIVE OF THE
          ESTATE OF RONALD BRUCE LONG AND VICTORIA LONG

       In Houston, Texas, came on for consideration the Motion for Entry of Agreed Order

Granting Relief From the Automatic Stay Filed by Lisa Ayers as Representative of the Estate of

Ronald Bruce Long and Victoria Long (“Motion”) in the Cause No. 2019-71007 styled Lisa Ayers

as Representative of the Estate of Ronald Bruce Long and Victoria Long (“Plaintiffs”) vs. Everest

Real Estate Investments, LLP, Everest Real Estate Investments, LLP d/b/a ICON Hospital, LLP,

ICON Hospital, LLP and Davita, Inc. in the 189th Judicial District, Harris County, Texas (the

“Lawsuit”).

       WHEREAS, on or before September 29, 2017, the Plaintiffs allege that claims accrued in

their favor and asserted such alleged claims against Everest Real Estate Investments, LLP

(“Everest”, the captioned Debtor) and others in the Lawsuit;

       WHEREAS, Everest denies liability of any and all claims asserted against it in the Lawsuit;

       WHEREAS, Everest filed this bankruptcy case on August 20, 2020, and Everest filed a

Suggestion of Bankruptcy in the Lawsuit and served it on all parties thereto on August 24, 2020;

       WHEREAS, the Plaintiffs filed the Motion in this Court on March __, 2021;

       WHEREAS notice of the Motion is proper and there have been no objections to or requests

for hearing on said Motion. Approving this Agreed Order is in the best interest of Everest’s

bankruptcy estate. THEREFORE, it is
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       ORDERED that the automatic stay imposed by the commencement of this, Everest’s

bankruptcy case, is modified and lifted to the extent necessary to permit the Lawsuit to proceed to

trial, judgment and, if appropriate, appeal; and it is further

       ORDERED that in the event a judgment is rendered in favor of the Plaintiffs against

Everest in the Lawsuit (“Judgment”), Plaintiffs are prohibited from enforcing or collecting or

recovering on the Judgment from (1) property of Everest’s bankruptcy estate, (2) Everest and its

property and (3) any successor in interest to Everest or its property. Any satisfaction of a

Judgment, if any, against Everest shall be limited to and only made from available insurance

proceeds, if any.


DATED:______________           BY:_____________________________
     August
     April 06, 02,
               20212019
                               CHRIS LOPEZ
                               UNITED STATES BANKRUPTCY JUDGE
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Approved and Entry Requested:


Respectfully Submitted,

THE GERGER LAW FIRM, PLLC


By: /s/Alan Gerger________________
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ATTORNEY FOR EVEREST REAL ESTATE INVESTMENTS, LLP
